UNPUBLISHED
   OPINIONS
Federal National Mortgage Association v. Boldrini, Not Reported in Fed. Supp. (2018)


                                                                     National Mortgage Association (FANNIE MAE or FNMA)
                     2018 WL 6735102                                 against Boldrini into federal court. Attached to the Notice of
      Only the Westlaw citation is currently available.              Removal was a copy of the mortgage foreclosure complaint
      United States District Court, M.D. Pennsylvania.               filed in this case. (Id.) On its face, that mortgage foreclosure
                                                                     complaint brought no claims or causes of action arising under
           FEDERAL NATIONAL MORTGAGE                                 the Constitution or laws of the United States. (Id.) The Notice
                ASSOCIATION, Plaintiff                               of Removal submitted by Boldrini also on its face indicated
                          v.                                         that this removal notice is untimely since Boldrini recited that
                                                                     this state mortgage foreclosure complaint was filed in April of
             Antonello BOLDRINI, Defendant
                                                                     2016 and was served upon Boldrini in January of 2017. (Id.)
                     Civil No. 3:18-CV-1959
                                 |                                   While we noted that there appeared to be multiple fatal flaws
                       Signed 11/06/2018                             in this pleading, we were mindful of the teachings of the Court
                                                                     of Appeals, which cautions against any sua sponte decision
Attorneys and Law Firms                                              by a district court to order the remand of a removed case. See
                                                                     In re FMC Corp. Packaging Sys. Div., 208 F.3d 445, 450 (3d
Eric J. Phillips, Lauren L. Schuler, Hladik Onorato &
                                                                     Cir. 2000). Taking into account the apparent defects in this
Federman LLP, North Wales, PA, for Plaintiff.
                                                                     Notice, we provisionally granted Boldrini's motion for leave
Antonello Boldrini, Pittston, PA, pro se.                            to proceed in forma pauperis, (Doc. 2), but ordered that a
                                                                     copy of this filing be served upon counsel for the plaintiff in
                                                                     the underlying state court action. We also directed that, if the
                                                                     state court plaintiff believed that this Notice of Removal was
          REPORT AND RECOMMENDATION
                                                                     procedurally or substantively flawed, it was to file a motion
Martin C. Carlson, United States Magistrate Judge                    to remand this action to state court. The state court plaintiff
                                                                     complied with this direction, filing a motion to remand and
   I. Factual Background                                             accompanying brief. (Doc. 7.) Upon consideration of this
 *1 It is said that Albert Einstein once observed that doing         motion to remand, on January 9, 2018, we recommended that
the same thing over and over again and expecting different           this case be remanded to the court of common pleas. (Doc.
results was the highest form of human folly. This case calls         12.) On September 11, 2018, the district court adopted this
to mind the wisdom of this aphorism attributed to Einstein           recommendation and remanded this case to state court. (Doc.
since the pro se party in this litigation, Antonello Boldrini, has   87.)
now for a second time sought to remove this case to federal
court, having previously been informed that his prior removal        Undeterred, Boldrini then filed a second removal petition on
petition was untimely.                                               October 10, 2018 in the instant case. (Doc. 1.) This second
                                                                     petition essentially reprised Boldrini's previously untimely
For the reasons set forth below, we find that the passage            and feckless effort to remove this foreclosure action to federal
of additional time has not somehow rendered Boldrini's               court in order to litigate idiosyncratic claims, which can and
previously untimely removal petition timely. Therefore we            should be raised and addressed in state court. Moreover, the
recommend that this case be remanded to state court once             removal petition is now filed some 22 months after the initial
again.                                                               state court foreclosure complaint was served upon Boldrini
                                                                     in January of 2017. Accordingly, FNMA has once again
This is the second pro se lawsuit which Boldrini has                 moved to remand this case. (Doc. 8.) For his part, Boldrini
commenced by the filing of a Notice of Removal which                 has responded to this motion to remand by moving to strike
purports to remove this state mortgage foreclosure case              this pleading, (Doc. 12), a motion that we take as Boldrini's
into federal court. Boldrini's initial, unsuccessful attempt at      response in opposition to the motion to remand. For the
removal took place when Boldrini filed a Notice of Removal           reasons set forth below, it is recommended that Boldrini's
on December 20, 2017. FMNA v. Boldrini, No. 13:17-                   motion to strike be denied and this case be remanded to the
CV-2357 (Doc. 1.) This Notice of Removal sought to remove            Court of Common Pleas of Luzerne County.
a state mortgage foreclosure complaint filed by the Federal



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Federal National Mortgage Association v. Boldrini, Not Reported in Fed. Supp. (2018)




  II. Discussion

                                                                                   The defendants bear the burden
       A. Removal Jurisdiction Legal Prerequisites                                 of establishing removal jurisdiction
                                                                                   and demonstrating compliance with
 *2 Removal of cases is governed 28 U.S.C. § 1446, which                           all pertinent procedural requirements.
provides as follows:                                                               Boyer v. Snap–On Tools Corp., 913
                                                                                   F.2d 108, 111 (3d Cir.), cert. denied,
  (a) Generally.--A defendant or defendants desiring to
                                                                                   498 U.S. 1085, 111 S.Ct. 959, 112
  remove any civil action from a State court shall file in
                                                                                   L.Ed.2d 1046 (1991); Steel Valley
  the district court of the United States for the district and
                                                                                   Auth. v. Union Switch & Signal Div.,
  division within which such action is pending a notice of
                                                                                   Am. Standard, Inc., 809 F.2d 1006,
  removal signed pursuant to Rule 11 of the Federal Rules of
                                                                                   1011 (3d Cir. 1987). Removal statutes
  Civil Procedure and containing a short and plain statement
                                                                                   are to be strictly construed and all
  of the grounds for removal, together with a copy of all
                                                                                   doubts resolved in favor of remand.
  process, pleadings, and orders served upon such defendant
                                                                                   Shamrock Oil & Gas Corp. v. Sheets,
  or defendants in such action.
                                                                                   313 U.S. 100, 108–09, 61 S.Ct. 868, 85
  (b) Requirements; generally.--(1) The notice of removal                          L.Ed. 1214 (1941); Boyer, 913 F.2d at
  of a civil action or proceeding shall be filed within 30                         111; Landman v. Borough of Bristol,
  days after the receipt by the defendant, through service or                      896 F.Supp. 406, 408 (E.D. Pa. 1995).
  otherwise, of a copy of the initial pleading setting forth the                   One of the procedural requirements of
  claim for relief upon which such action or proceeding is                         removal is that the defendants must
  based, or within 30 days after the service of summons upon                       remove the case within thirty days of
  the defendant if such initial pleading has then been filed                       service of the complaint. 28 U.S.C. §
  in court and is not required to be served on the defendant,                      1446(b).
  whichever period is shorter.

28 U.S.C. § 1446(a)-(b) (emphasis added).                             Shadie v. Aventis Pasteur, Inc., 254 F.Supp.2d 509, 514 (M.D.
                                                                      Pa. 2003).

Thus, by its terms § 1446 commands parties seeking removal
                                                                       *3 Moreover, while the 30-day removal deadline prescribed
to act in a prompt and timely fashion, directing removing
                                                                      by § 1446(b) is not jurisdictional, courts generally agree “that
parties to seek removal “within 30 days after the receipt by
                                                                      the thirty-day requirement for filing of a removal petition
the defendant, through service or otherwise, of a copy of the
                                                                      is mandatory. We have no discretion. Putterman v. Daveler,
initial pleading setting forth the claim for relief upon which
                                                                      169 F.Supp. 125 (D. Del. 1958); Green v. Zuck, 133 F.Supp.
such action or proceeding is based.” Id.
                                                                      436 (S.D.N.Y. 1955); Maybruck v. Haim, 290 F.Supp. 721
It is well settled that “[t]he removal statutes ‘are to be strictly
                                                                      (E.D. Pa. 1962); Wisseman v. La Chance, 209 F.Supp. 807
construed against removal and all doubts should be resolved
                                                                      (E.D.N.C. 1962); Sunbeam Corp. v. Brazin, 138 F.Supp. 723
in favor of remand.’ Steel Valley Auth. v. Union Switch and
                                                                      (E.D. Ky. 1956); Pottstown Daily News Publishing Co. v.
Signal Div., 809 F.2d 1006, 1010 (3d Cir. 1987) (citing Abels
                                                                      Pottsdown Broadcasting Co., 247 F.Supp. 578, 583-84 (E.D.
v. State Farm Fire & Cas. Co., 770 F.2d 26, 29 (3d Cir. 1985)
                                                                      Pa. 1965); Adams v. Western Steel Bldgs., Inc., 296 F.Supp.
), cert. dismissed sub nom. American Standard v. Steel Valley
                                                                      759, 761 (D. Colo. 1969); 1A Moore, Federal Practice, 1345
Auth., 484 U.S. 1021, 108 S.Ct. 739, 98 L.Ed.2d 756 (1988).”
                                                                      (1965).” Blue Cross of Ne. Pa. v. New Life Homecare,
Boyer v. Snap-on Tools Corp., 913 F.2d 108, 111 (3d Cir.
                                                                      3:07CV2138, 2008 WL 1902414 (M.D. Pa. Apr. 25, 2008).
1990). Therefore, “a party who urges jurisdiction on a federal
court bears the burden of proving that” removal is appropriate.
Id. Thus, as we have observed in the past, when considering
tardy removal petitions, we are guided by several basic legal              B. This Motion to Remand Should Be Granted
precepts. In this setting:



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Federal National Mortgage Association v. Boldrini, Not Reported in Fed. Supp. (2018)


Judged against these benchmarks, the plaintiff is entitled to       Caterpillar Inc. v. Williams, 482 U.S. 386, 392, 107 S.Ct.
the remand of this action to the Court of Common Pleas              2425, 2429, 96 L.Ed.2d 318 (1987). In this case, a review of
of Luzerne County since the undisputed facts conclusively           the plaintiff's well-pleaded complaint does not reveal that a
demonstrate that the defendant neglected to seek to timely          federal question is presented on the face of that well-pleaded
remove this lawsuit after he was first served with this             complaint. In such instances, where no federal claim can
foreclosure complaint in January of 2017. Since “removal            be found in the plaintiff's complaint, a mortgagor may not
statutes ‘are to be strictly construed against removal and all      remove a state foreclosure action to federal court and the
doubts should be resolved in favor of remand,’ ” Boyer v.           case should be remanded to state court. See e.g., Hudson City
Snap-on Tools Corp., 913 F.2d 108, 111 (3d Cir. 1990), and          Sav. Bank, FSB v. Barrow, No. 16-CV-4190 (KM), 2017 WL
“the thirty-day requirement for filing of a removal petition is     701381, at *1 (D.N.J. Feb. 22, 2017); Green Tree Servicing
mandatory,” Blue Cross of Ne. Pa. v. New Life Homecare,             LLC v. Dillard, 88 F.Supp.3d 399, 400 (D.N.J. 2015).
3:07CV2138, 2008 WL 1902414 (M.D. Pa. Apr. 25, 2008),
we should not countenance Boldrini's efforts to discount these       *4 Accordingly, for the foregoing reasons, we recommend
statutory deadlines, and use this court's removal jurisdiction in   that the plaintiff's motion to remand be granted, so all parties
a fashion which does violence to comity between the state and       may continue to litigate this state mortgage foreclosure action
federal courts, is disruptive of judicial economy, and violates     in state court, the proper forum for the resolution of this
the animating principles which guide our entire legal system,       dispute.
a system designed to promote the timely and fair resolution
of cases.

                                                                        C. Boldrini's Motion to Strike Should Be Denied
These principles apply with particular force here since this
is Boldrini's second untimely removal petition. This court          Finally, we note that Boldrini has filed a motion to strike
has already concluded that Boldrini's prior petition, which         this motion to remand. (Doc. 12.) Boldrini's motion to strike
was filed 11 months ago, was untimely and remanded his              warrants only brief consideration. Rule 12(f) of the Federal
prior petition to state court on these grounds. Given this          Rules of Civil Procedure governs motions to strike pleadings
prior ruling, it would be anomalous now to declare that             and provides, in part, that:
an even more delinquent petition satisfies the mandatory
30-day requirement for filing a removal petition. In short,
Boldrini's latest removal petition rests upon the counter-                       (f) Motion to Strike. The court may
intuitive proposition that a filing can become more timely                       strike from a pleading an insufficient
through greater delay. This proposition defies the law of                        defense or any redundant, immaterial,
removal, principles of commonsense, and should not be                            impertinent, or scandalous matter.
embraced by this court.

Finally, we note that the ostensible basis for the removal
                                                                    Fed. R.Civ. P. 12(f).
of this case to federal court is the assertion by Boldrini of
various defenses which he alleges exist under federal law.
                                                                    “ ‘The purpose of a motion to strike is to clean up the
Thus, Boldrini's removal petition seems to allege that he
                                                                    pleadings, streamline litigation, and avoid unnecessary forays
is continuing to seek removal of this case to federal court
                                                                    into immaterial matters.’ Natale v. Winthrop Resources Corp.,
pursuant to the court's federal question jurisdiction. This
                                                                    2008 U.S. Dist. LEXIS 54358, 2008 WL 2758238 (E.D. Pa.
invocation of the court's federal question jurisdiction in a
                                                                    July 9, 2008). Relief under Federal Rule of Civil Procedure
removal action fundamentally misconstrues the nature of that
                                                                    12(f) is generally disfavored, and will be denied unless the
removal jurisdiction. On this score it is well-settled that:
                                                                    allegations ‘have no possible relation to the controversy
“The presence or absence of federal-question jurisdiction
                                                                    and may cause prejudice to one of the parties, or if the
is governed by the ‘well-pleaded complaint rule,’ which
                                                                    allegations confuse the issues in the case.’ Id.” Fiorentino
provides that federal jurisdiction exists only when a federal
                                                                    v. Cabot Oil & Gas Corp., 750 F.Supp.2d 506, 509 (M.D.
question is presented on the face of the plaintiff's properly
                                                                    Pa. 2010). Thus, while rulings on motions to strike rest in
pleaded complaint. See Gully v. First National Bank, 299
                                                                    the sound discretion of the court, Von Bulow v. Von Bulow,
U.S. 109, 112–113, 57 S.Ct. 96, 97–98, 81 L.Ed. 70 (1936).”
                                                                    657 F.Supp. 1134, 1146 (S.D.N.Y. 1987), that discretion


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Federal National Mortgage Association v. Boldrini, Not Reported in Fed. Supp. (2018)


is guided by certain basic principles. Because striking a
pleading is viewed as a drastic remedy, such motions are
“generally disfavored.” Kaiser Aluminum & Chemical Sales,             III. Recommendation
Inc. v. Avondale Shipyards, Inc., 677 F.2d 1045, 1057 (5th          Accordingly, for the foregoing reasons, IT IS
Cir. 1982). As one court has aptly observed: “striking a            RECOMMENDED that the Plaintiff's motion to remand
party's pleadings is an extreme measure, and, as a result, ...      (Doc. 8) be GRANTED, and Boldrini's motion to strike (Doc.
‘[m]otions to strike under Fed.R.Civ.P. 12(f) are viewed            12), be DENIED.
with disfavor and are infrequently granted.’ Lunsford v.
United States, 570 F.2d 221, 229 (8th Cir. 1977) (citing 5          The Parties are further placed on notice that pursuant to Local
Wright & Miller, Federal Practice and Procedure. Civil &            Rule 72.3:
1380 at 783 (1969) ). See also Resolution Trust Corp. v.
Gibson, 829 F.Supp. 1103, 1106 (W.D. Mo. 1993); 2 James
Wm. Moore et al., Moore's Federal Practice & 12.37[1] (3d                       Any party may object to a
ed. 2000).” Stanbury Law Firm v. I.R.S., 221 F.3d 1059,                         magistrate judge's proposed findings,
1063 (8th Cir. 2000). In practice, courts should exercise this                  recommendations or report addressing
discretion and strike pleadings only when those pleadings                       a motion or matter described in 28
are both “redundant, immaterial, impertinent, or scandalous”                    U.S.C. § 636 (b)(1)(B) or making a
and prejudicial to the opposing party. Ruby v. Davis Foods,                     recommendation for the disposition
Inc., 269 F.3d 818, 820 (7th Cir. 2001). “Because a motion                      of a prisoner case or a habeas
to strike is not favored, a court will generally not grant such                 corpus petition within fourteen (14)
a motion unless the material to be stricken bears no possible                   days after being served with a
relationship to the controversy and may cause prejudice to one                  copy thereof. Such party shall file
of the parties.” See Hanover Ins. Co., 619 F.Supp.2d at 133;                    with the clerk of court, and serve
Miller v. Group Voyagers, Inc., 912 F.Supp. 164, 168 (E.D.                      on the magistrate judge and all
Pa. 1996). For purposes of Rule 12(f): “ ‘Immaterial matter                     parties, written objections which shall
is that which has no essential or important relationship to the                 specifically identify the portions of the
claim for relief. Impertinent matter consists of statements that                proposed findings, recommendations
do not pertain, and are not necessary, to the issues in question.               or report to which objection is made
Scandalous matter has been defined as that which improperly                     and the basis for such objections.
casts a derogatory light on someone, most typically on a party                  The briefing requirements set forth in
to the action. Scandalous pleading must “reflect cruelly” upon                  Local Rule 72.2 shall apply. A judge
the defendant's moral character, use “repulsive language”                       shall make a de novo determination
or “detract from the dignity of the court.’ ” Donnelly v.                       of those portions of the report
Commonwealth Fin. Sys., No. 07BCVB1881, 2008 WL                                 or specified proposed findings or
762085, at *4 (M.D.Pa. Mar. 20) (internal citations omitted).”                  recommendations to which objection
Zaloga v. Provident Life & Acc. Ins. Co. of Am., 671                            is made and may accept, reject, or
F.Supp.2d 623, 633 (M.D. Pa. 2009).                                             modify, in whole or in part, the
                                                                                findings or recommendations made
 *5 Judge against these legal guideposts, Boldrini's motion                     by the magistrate judge. The judge,
to strike this motion to remand fails two at least two reasons.                 however, need conduct a new hearing
First, the motion to strike fails because the motion to remand                  only in his or her discretion or
is well-taken and meritorious. The rules simply do not permit                   where required by law, and may
the gratuitous striking of meritorious pleadings. Second,                       consider the record developed before
nothing in this motion to remand, which simply highlights                       the magistrate judge, making his or
the untimely nature of this removal petition, can be even                       her own determination on the basis of
remotely viewed as “redundant, immaterial, impertinent, or                      that record. The judge may also receive
scandalous,” the benchmarks standards prescribed by Rule                        further evidence, recall witnesses or
12(f) for striking pleadings. Accordingly, this motion to strike
fails as a matter of law and should be denied.



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Federal National Mortgage Association v. Boldrini, Not Reported in Fed. Supp. (2018)




            recommit the matter to the magistrate           All Citations
            judge with instructions.
                                                            Not Reported in Fed. Supp., 2018 WL 6735102



Submitted this 6 th day of November, 2018.

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Goodfellow v. Camp Netimus, Inc., Not Reported in Fed. Supp. (2017)


                                                                  The plaintiffs, Gordon Parker Goodfellow, III, and Lorena
                     2017 WL 1738398                              Goodfellow bring this action on behalf of their minor son,
      Only the Westlaw citation is currently available.           Gordon Parker Goodfellow, IV (“GPG”), and on their own
      United States District Court, M.D. Pennsylvania.            behalf. The plaintiffs filed their complaint on July 22,
                                                                  2016, (Doc. 1), against defendants the Camp, and the two
  Gordon Parker GOODFELLOW IV, a minor by Gordon                  Camp infirmary nurses, Candace Kay Lehman and Lisa M.
  Parker Goodfellow, III and Lorena Goodfellow, Parents           Chou. After defendants were served, they filed a motion
  and Natural Guardians, and Gordon Parker Goodfellow,            to dismiss the complaint on September 23, 2016. (Doc.
                                                                  9). On September 30, 2016, plaintiffs filed an amended
    III and Lorena Goodfellow, Individually, Plaintiffs
                                                                  complaint. (Doc. 10). There was only one difference between
                            v.
                                                                  the amended complaint and the original complaint, namely,
     CAMP NETIMUS, INC., d/b/a Camp Shohola for
                                                                  ¶ 17.1 which stated that counsel erred in checking the wrong
     Boys, Inc. a/k/a Camp Shohola, Inc.; Candace Kay             box on the original COM for the Camp and that plaintiffs
      Lehman and Lisa M. Chou (Brass), Defendants                 had secured an expert who gave an opinion regarding the
                                                                  negligence of the Camp. Attached to the amended pleading
               CIVIL ACTION NO. 3:16-1521
                                                                  were amended COMs regarding all three defendants. (Doc.
                            |
                                                                  10, pp. 24-30). The amended COM for the Camp had the box
                    Signed 05/04/2017
                                                                  for vicarious liability checked. (Doc. 10, pp. 24-25). The court
Attorneys and Law Firms                                           then dismissed the motion to dismiss the original complaint
                                                                  since it was moot. (Doc. 11).
Melissa A. Scartelli, Michael J. Kenny, Scartelli Olszewski,
P.C., Scranton, PA, for Plaintiffs.                               On October 19, 2016, the defendants filed a motion to dismiss
                                                                  portions of the amended complaint pursuant to Fed.R.Civ.P.
Robert J. Aldrich, Marshall Dennehey, Moosic, PA, Robin           12(b)(6). (Doc. 12). The defendants simultaneously filed
B. Snyder, Marshall Dennehey Warner Coleman & Goggin,             their brief in support. (Doc. 13). On November 2, 2016,
Scranton, PA, for Defendants.                                     the plaintiffs filed their brief in opposition. (Doc. 16). The
                                                                  defendants filed a reply brief on November 9, 2016, rendering
                                                                  their motion to dismiss ripe for review. (Doc. 17).
                     MEMORANDUM
                                                                  This action relates to the medical treatment GPG received
MALACHY E. MANNION, United States District Judge                  while attending the Camp, as an overnight camper, during the
                                                                  summer of 2014. GPG became sick on July 26, 2014 and was
 *1 Pending before the court is the motion to dismiss, (Doc.
                                                                  brought to the Camp's infirmary complaining about stomach
12), of the defendants regarding plaintiffs' direct medical
                                                                  pain, nausea, vomiting and a fever. The Camp's infirmary was
corporate negligence claims raised against Camp Netimus,
                                                                  staffed by Lehman and Chou, both licensed professionals,
Inc., d/b/a Camp Shohola for Boys, Inc. (“the Camp”) in the
                                                                  who believed GPG was suffering from a stomach flu. GPG
amended complaint, (Doc. 10), based on an alleged defective
                                                                  remained in the Camp's infirmary from July 26 through July
Certificate of Merit (“COM”) which allegedly fails to set forth
                                                                  29, 2014, allegedly without proper medical care. On July 29,
that plaintiffs are proceeding on such a theory against the
                                                                  2014, the Camp Director brought GPG to Hawley Urgent
Camp. The defendants also seek to dismiss the allegations
                                                                  Care where he was immediately referred to Wayne Memorial
of negligence against the individual defendants as well as
                                                                  Hospital Emergency Room for a CT scan. The scan revealed
all allegations of recklessness. Further, the defendants move
                                                                  that GPG had a perforated appendix which caused sepsis.
to dismiss the parent plaintiffs' loss of consortium claim
                                                                  GPG was then transported to Geisinger Medical Center where
regarding their minor son. For the reasons discussed below,
                                                                  he received IV antibiotics to address the infection. GPG
the defendants' motion will be GRANTED IN PART AND
                                                                  remained at Geisinger receiving antibiotics until September
DENIED IN PART.
                                                                  24, 2014, when he was stable enough to have surgery to
                                                                  remove his appendix. GPG was discharged from Geisinger on
I. PROCEDURAL AND FACTUAL BACKGROUND 1                            September 26, 2014. For one month thereafter, GPG allegedly
                                                                  still had pain in his lower abdomen.



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Goodfellow v. Camp Netimus, Inc., Not Reported in Fed. Supp. (2017)




 *2 In their amended complaint, (Doc. 10), the plaintiffs
allege that Lehman and Chou were negligent for initially             II. STANDARDS OF REVIEW
misdiagnosing GPG with a stomach flu, for failing to timely
                                                                        A. Motion to Dismiss
diagnose his condition which was appendicitis, and for failing
                                                                     The defendants' motion to dismiss is brought pursuant to the
to supervise and train Camp employees. In addition to the
                                                                     provisions of Fed.R.Civ.P. 12(b)(6). This rule provides for the
direct professional negligence claims against Lehman and
                                                                     dismissal of a complaint, in whole or in part, if the plaintiff
Chou, the plaintiffs claim that the Camp is vicariously liable
                                                                     fails to state a claim upon which relief can be granted. The
for the alleged negligence of the two infirmary nurses. The
                                                                     moving party bears the burden of showing that no claim has
plaintiffs also assert claims of direct and corporate negligence
                                                                     been stated, Hedges v. United States, 404 F.3d 744, 750 (3d
against the Camp, including claims that it failed to adequately
                                                                     Cir. 2005), and dismissal is appropriate only if, accepting all
train the infirmary staff, it failed to have adequate policies and
                                                                     of the facts alleged in the complaint as true, the plaintiff has
procedures in place, and it failed to consult with a physician.
                                                                     failed to plead “enough facts to state a claim to relief that is
                                                                     plausible on its face,” Bell Atlantic Corp. v. Twombly, 550
There are five counts in the amended complaint, to wit: (I)
                                                                     U.S. 544, 127 S. Ct. 1955, 1974 (2007) (abrogating “no set
a professional medical negligence claim against Lehman;
                                                                     of facts” language found in Conley v. Gibson, 355 U.S. 41,
(II) a professional medical negligence claim against Chou;
                                                                     45-46 (1957)). The facts alleged must be sufficient to “raise a
(III) claims of vicarious liability as well as direct corporate
                                                                     right to relief above the speculative level.” Twombly, 550 U.S.
medical negligence claims against the Camp; (IV) a claim
                                                                     544, 127 S. Ct. at 1965. This requirement “calls for enough
for emotional distress allegedly suffered by GPG against
                                                                     fact[s] to raise a reasonable expectation that discovery will
all defendants; and (V) a claim by GPG's parents against
                                                                     reveal evidence of” necessary elements of the plaintiff's cause
all defendants for recovery of medical bills and a loss
                                                                     of action. Id. Furthermore, in order to satisfy federal pleading
of consortium claim by GPG's parents regarding GPG.
                                                                     requirements, the plaintiff must “provide the grounds of his
There are also several allegations of recklessness against the
                                                                     entitlement to relief,” which “requires more than labels and
defendants in the amended complaint. As relief in all five
                                                                     conclusions, and a formulaic recitation of the elements of a
counts, plaintiffs seek compensatory damages. This court's
                                                                     cause of action will not do.” Phillips v. County of Allegheny,
jurisdiction is based on diversity 28 U.S.C. § 1332.
                                                                     515 F.3d 224, 231 (3d Cir. 2008) (brackets and quotations
                                                                     marks omitted) (quoting Twombly, 550 U.S. 544, 127 S. Ct.
As indicated, the plaintiffs attached amended COMs to their
                                                                     at 1964-65).
amended complaint regarding all three defendants. (Doc.
10, pp. 24-30). The amended COMs against Lehman and
                                                                      *3 In considering a motion to dismiss, the court generally
Chou were filed based on Pa.R.C.P. 1042.3(a)(1) and state,
                                                                     relies on the complaint, attached exhibits, and matters of
in pertinent part, an expert has found that “there is a basis
                                                                     public record. See Sands v. McCormick, 502 F.3d 263 (3d Cir.
to conclude that the care, skill or knowledge exercised or
                                                                     2007). The court may also consider “undisputedly authentic
exhibited by this defendant in the treatment, practice or work
                                                                     document[s] that a defendant attaches as an exhibit to a
[at issue], fell outside acceptable professional standards and
                                                                     motion to dismiss if the plaintiff's claims are based on the
that such conduct was a cause in bringing about the harm
                                                                     [attached] documents.” Pension Benefit Guar. Corp. v. White
[to GPG].” The amended COM filed against the Camp,
                                                                     Consol. Indus., 998 F.2d 1192, 1196 (3d Cir. 1993). Moreover,
which is based only on Pa.R.C.P. 1042.3(a)(2), states that
                                                                     “documents whose contents are alleged in the complaint and
“the claim that this defendant deviated from an acceptable
                                                                     whose authenticity no party questions, but which are not
professional standard is based solely on allegations that other
                                                                     physically attached to the pleading, may be considered.”
licensed professionals [i.e., Lehman and Chou] for whom
                                                                     Pryor v. Nat'l Collegiate Athletic Ass'n, 288 F.3d 548, 560 (3d
this defendant is responsible deviated from an acceptable
                                                                     Cir. 2002). However, the court may not rely on other parts of
professional standard” and, that an expert has found “there
                                                                     the record in determining a motion to dismiss. See Jordan v.
is a basis to conclude that the care, skill or knowledge
                                                                     Fox, Rothschild, O'Brien & Frankel, 20 F.3d 1250, 1261 (3d
exercised or exhibited by the other licensed professionals
                                                                     Cir. 1994).
in the treatment, practice or work [at issue], fell outside
acceptable professional standards and that such conduct was
                                                                     Generally, the court should grant leave to amend a complaint
a cause in bringing about the harm [to GPG].”
                                                                     before dismissing it as merely deficient. See, e.g., Fletcher-


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Goodfellow v. Camp Netimus, Inc., Not Reported in Fed. Supp. (2017)


Harlee Corp. v. Pote Concrete Contractors, Inc., 482 F.3d 247,     with respect to the alleged negligence of Lehman and Chou
252 (3d Cir. 2007); Grayson v. Mayview State Hosp., 293            and is thus insufficient to support direct claims of corporate
F.3d 103, 108 (3d Cir. 2002); Shane v. Fauver, 213 F.3d 113,       negligence. Defendants also argue that plaintiffs' corporate
116-17 (3d Cir. 2000). “Dismissal without leave to amend           negligence claims against the Camp should be dismissed for
is justified only on the grounds of bad faith, undue delay,        failure to state a cause of action and, that the vague allegations
prejudice, or futility.” Alston v. Parker, 363 F.3d 229, 236 (3d   of negligence in the amended complaint should be stricken
Cir. 2004).                                                        against all defendants. Further, defendants argue that all of
                                                                   the allegations of recklessness should be stricken from the
                                                                   amended complaint. Finally, defendants assert that the parent
   B. Motion to Strike                                             plaintiffs' cause of action for loss of consortium regarding
Defendants' motion, insofar as it seeks to strike portions of      GPG should be dismissed for failure to state a cognizable
the amended complaint, is also made pursuant to Fed.R.Civ.P.       claim.
12(f). In Tennis v. Ford Motor Co., 730 F.Supp.2d 437, 443
(W.D. Pa. 2010), the court explained as follows regarding a         *4 Plaintiffs initially contend that defendants' motion to
Rule 12(f) motion:                                                 dismiss with respect to their direct corporate negligence
                                                                   claims against the Camp is untimely. Plaintiffs cite to
  Under Fed.R.Civ.P. 12(f) “[t]he court may strike from
                                                                   Pa.R.C.P. 1042.6 and 1042.7 and, point out that a defendant
  a pleading an insufficient defense or any redundant,
                                                                   claiming a defective COM is required to file a notice of intent
  immaterial, impertinent, or scandalous matter.” Rule 12(f)
                                                                   to enter a judgment of non pros, i.e., a motion to dismiss
  “permits the court, on its own motion, or on the timely
                                                                   with respect to this case, “no sooner than the thirty-first day
  motion of a party, to order stricken from any pleading
                                                                   after the filing of the complaint.” Plaintiffs filed their original
  any insufficient defense or any redundant, immaterial,
                                                                   complaint on July 22, 2016, and served it on defendants along
  impertinent, or scandalous matter.” Adams v. Cnty. of Erie,
                                                                   with waivers and Summons on July 26, 2016. Defendants
  Pa., 2009 WL 4016636 at *1 (W.D. Pa. Nov. 19, 2009)
                                                                   signed the waivers which provided that they had 60 days to
  (quoting Fed.R.Civ.P. 12(f)). “The purpose of a motion to
                                                                   respond to plaintiffs' complaint from July 26, 2016, i.e., by
  strike is to clean up the pleadings, streamline litigation,
                                                                   September 24, 2016. (Doc. 4, Doc. 8). On September 23,
  and avoid unnecessary forays into immaterial matters.”
                                                                   2016, the defendants jointly filed their motion to dismiss
  Natale v. Winthrop Resources Corp., 2008 WL 2758238 at
                                                                   with respect to the original complaint, which argued, in part,
  *14 (E.D. Pa. July 9, 2008) (quoting McInerney v. Moyer
                                                                   that the COM regarding the Camp was defective. (Doc.
  Lumber & Hardware, Inc., 244 F.Supp.2d 393, 402 (E.D.
                                                                   9). Specifically, the COM regarding the Camp which was
  Pa. 2002)).
                                                                   attached to the original compliant, (Doc. 1, p. 29), had only
  Although courts possess “considerable discretion in              the third box checked which provided that “expert testimony
  disposing of a motion to strike under Rule 12(f), ‘such          of an appropriate licensed professional is unnecessary for
  motions are not favored and usually will be denied unless        prosecution of the claim against this defendant” based on
  the allegations have no possible relation to the controversy     Pa.R.C.P. 1042.3(a)(3). Defendants' motion was timely since
  and may cause prejudice to one of the parties, or if the         it was filed one day before the expiration of the 60-day period.
  allegations confuse the issues in the case.’ ” Thornton          In response to the motion to dismiss, plaintiffs filed their
  v. UL Enterprises, LLC, 2010 WL 1005021 at *2 (W.D.              amended complaint on September 30, 2016. Since the 60-day
  Pa. March 16, 2010) (internal citations omitted). “Striking      period expired on September 24, 2016 and there was only one
  some or all of a pleading is therefore considered a drastic      day remaining on it, defendants had 14 days to respond to
  remedy to be resorted to only when required for the              plaintiffs' amended complaint. See Fed.R.Civ.P. 15(a)(3).
  purposes of justice.” Thornton, 2010 WL 1005021 at *2
  (quoting DeLa Cruz v. Piccari Press, 521 F.Supp.2d 424,          On October 19, 2016, the defendants filed their motion to
  428 (E.D. Pa. 2007) (quotations omitted)).                       dismiss the amended pleading, including the direct corporate
                                                                   negligence claims against the Camp again based on a
                                                                   defective COM. However, defendants' motion was due on
III. DISCUSSION                                                    October 14, 2016, i.e., 14 days after September 30, 2016
In their motion, defendants argue that the amended COM filed       and, thus, it was filed five days late. Defendants did not file
against the Camp supports only claims of vicarious liability       a motion for an extension of time to file their motion. Nor



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Goodfellow v. Camp Netimus, Inc., Not Reported in Fed. Supp. (2017)


did they file a motion with the court seeking to file their         claim.); see also Stroud v. Abington Mem'l Hosp., 546 F.
motion to dismiss nunc pro tunc. As such, plaintiffs argue          Supp. 2d 238, 248 (E.D. Pa. 2008). This court also takes
that defendants' motion to dismiss their amended complaint          judicial notice that it has considered motions to dismiss in
should be dismissed in its entirety since it was filed out of       many cases based on the failure to file proper COMs as well
time.                                                               as timely COMs. See, eg., Levi v. Lappin, 2009 WL 1770146
                                                                    (M.D. Pa. June 22, 2009); see also cases cited by defendants
Defendants do not concede that their instant motion was             (Doc. 17, pp. 5-6).
untimely. Nor do they claim that it was timely. Rather,
defendants contend that the court should still determine the         *5 Additionally, the court does not find any reason to
merits of their motion even if it is untimely since “plaintiffs     wait for a summary judgment motion on the present issue
are not prejudiced in any manner whatsoever.” (Doc. 17, p.          since discovery will not alter the basis of defendants' stated
2). Defendants point out that their instant motion to dismiss       contention seeking to dismiss plaintiffs' corporate negligence
is nearly identical to their prior motion to dismiss plaintiffs'    claims against the Camp due to a defective COM and the
original complaint and that plaintiffs had notice of their intent   60-day deadline to file COMs has expired. Also, plaintiffs
to challenge some of the amended pleading before it was even        already had the opportunity to amend their COM against the
filed. Thus, defendants state that dismissal of their instant       Camp and they did so. (Doc. 10, p. 25).
motion is too drastic a sanction since any short delay did not
cause plaintiffs any prejudice.                                     Further, defendants were not required to follow Pa.R.C.P.
                                                                    1042.6 and 1042.7 by filing a notice of intent to enter
Defendants' motion was a few days late. However, the court,         judgment of non pros. As the court stated in Keel-Johnson
in its discretion, will not strike the motion as untimely since     v. Amsbaugh, 2009 WL 648970, at *3 (M.D. Pa. Mar.
plaintiffs had actual prior notice of the essential grounds         10, 2009), “[n]ot all aspects of the Pennsylvania COM
for the motion and there is simply no prejudice to plaintiffs       rule can be implemented in federal court[.]” In fact, Rules
by the short delay. There is also no prejudice to plaintiffs        1042.6 and 1042.7 are “enforcement mechanisms [which] are
since many of defendants' present arguments could be re-            procedural and inapplicable to federal practice.” Id. (citing
asserted in a later summary judgment motion. Moreover, if           Stroud v. Abington Mem. Hosp., 546 F. Supp. 2d 238,
defendants had requested an extension of time or requested to       250 (E.D. Pa. 2008)). Additionally, “[n]either the Federal
file their motion nunc pro tunc, the court certainly would have     Rules of Civil Procedure nor the local rules of this Court
granted it. Thus, striking defendants' motion under the present     contemplate praecipes or the entry of judgments of non pros.”
circumstances would be too drastic a sanction, and the court        Id. (citing Stroud, 546 F. Supp.2d at 250); Vochinsky v.
will consider the merits of defendants' motion to dismiss.          GEO Group, Inc., 2009 WL 4017254, *2 (E.D. Pa. Nov. 20,
However, counsel is reminded to adhere to the Federal Rules         2009) (“Federal procedural rules differ from Pennsylvania
of Civil Procedure and the rules of this court in the future.       procedural rules. Therefore, in federal court, the defendant
                                                                    must file a motion to dismiss without prejudice [regarding a
Next, plaintiffs argue that defendants' attempt to dismiss their    COM].”). In any event, plaintiffs had notice of defendants'
claims of direct corporate medical negligence against the           intent to move to dismiss based on an alleged defective COM
Camp based on an alleged defective COM should be asserted           against the Camp when they filed their first motion prior to
in a summary judgment motion and that defendants were               plaintiffs' amended complaint and amended COMs. (Doc. 9).
required under the Pennsylvania procedural rules to have
given them notice of intent to enter judgment of non pros           The court will now discuss the merits of defendants'
pursuant to Pa.R.C.P. 1042.6 and 1042.7.                            arguments and grounds for dismissal seriatim.

At the outset, the court finds that the defendants can challenge    Defendants move to dismiss plaintiffs' claims of direct
the plaintiffs' alleged defective COM against the Camp in           corporate medical negligence against the Camp based on an
a motion to dismiss. See Bassill v. Bryn Mawr Rehab.                alleged defective COM. “Rule 1042.3 of the Pennsylvania
Hosp., 2016 WL 6247549, *1 (E.D. Pa. Oct. 26, 2016)                 Rules of Civil Procedure requires that all professional liability
(Defendant hospitals filed a motion to dismiss plaintiff's          claims be supported by a [COM] filed within sixty days of
corporate negligence claim for filing a defective COM and           the filing of the complaint.” Bassill v. Bryn Mawr Rehab.
asserted that plaintiff's COM was insufficient to support that      Hosp., 2016 WL 6247549, *1 (E.D. Pa. Oct. 26, 2016)



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Goodfellow v. Camp Netimus, Inc., Not Reported in Fed. Supp. (2017)


(citing Pa.R.Civ.P. 1042.3(a)). Pennsylvania Rule of Civil             but not a licensed professional or a health care provider. (Doc.
                    2
Procedure 1042.3 further requires that, “[i]n any action               12, ¶ 36). Plaintiffs' amended COM with respect to the Camp
based upon an allegation that a licensed professional deviated         served to remedy the error in their original COM by indicating
from an acceptable professional standard, the attorney for             that they have an expert who opines only that the Camp is
the plaintiff, or the plaintiff if not represented, shall file ... a   vicariously liable for the actions of its professionally licensed
certificate of merit signed by the attorney or party.” Pa.R.C.P.       nurses, i.e., Lehman and Chou. See Pa.R.Civ.P. 1042.3(a)
No. 1042.3(a). This certificate of merit will either state             (2). Plaintiffs only checked the second box on their amended
that “an appropriate licensed professional has supplied a              COM with respect to the Camp. (Doc. 10, p. 25). However,
written statement that there exists a reasonable probability           regarding their corporate direct medical negligence claims
that the care, skill or knowledge exercised or exhibited in            against the Camp seeking to hold the Camp directly liable
the treatment, practice or work that is the subject of the             for its own negligence, in addition to the alleged negligence
complaint, fell outside acceptable professional standards and          of Lehman and Chou, defendants contend that plaintiffs must
that such conduct was a cause in bringing about the harm,”             present expert evidence and a COM.
“the claim that the defendant deviated from an acceptable
professional standard is based solely on allegations that other        A separate COM is required for each licensed professional
licensed professionals for whom this defendant is responsible          who is claimed to have deviated from an acceptable
deviated from an acceptable professional standard,” or that            professional standard. Pa.R.C.P. 1042.3(b)(1). A “licensed
“expert testimony of an appropriate licensed professional is           professional” is defined as “any person who is licensed
unnecessary for prosecution of the claim.” Pa.R.C.P. No.               pursuant to an Act of Assembly as a healthcare provider
1042.3(a)(1), (2), (3).                                                as defined by Section 503 of the Medical Care Availability
                                                                       and Reduction of Error (MCARE) Act ... and a nurse.” Pa.
 *6 “In Rostock v. Anzalone, 904 A.2d 943, 946 (Pa. Super.             R.C.P. 1042.1. The MCARE Act, 40 P.S. § 1303.503, defines
Ct. 2006), the Pennsylvania Superior Court held that the               a “heath care provider” as “a primary health care center,
plaintiff's corporate negligence claims required a COM and             a personal care home licensed by [DPW] ... or a person,
expert testimony.” Bassill, 2016 WL 6247549, *2. In Stroud             including a corporation, university or other educational
v. Abington Mem'l Hosp., 546 F. Supp. 2d 238, 248 (E.D.                institution licensed or approved by the Commonwealth to
Pa. 2008), the court held that “[a] COM is required as to              provide health care or professional medical services as a
corporate negligence claims that are premised on allegations           physician, a certified nurse midwife, a podiatrist, hospital,
that a hospital's actions fell below the applicable medical or         nursing home, birth center, and an officer, employee or agent
professional standard, i.e., where the claim is predicated upon        of any of them acting in the course or scope of employment.”
facts constituting medical treatment.” (citing Rostock, supra).
It is clear that a COM is required for a plaintiff to pursue           Regardless whether the Camp is a licensed health care
a corporate negligence claim against a licensed professional           provider, a COM is required because the substance of
medical care provider such as a hospital. Plaintiffs contend           plaintiffs' amended complaint alleges professional medical
that a COM is not required in this case with respect to the            malpractice was committed by the Camp. Vochinsky, 2009
Camp since it is not a licensed professional medical care              WL 4017254, *2 (court held that a COM was required by
provider as specified in Pa.R.C.P. 1042.1 and that they can            inmate who alleged GEO Group, Inc., a corporation which
proceed on their direct corporate liability claims against the         operated the Delaware County Prison, committed medical
Camp without expert testimony. Defendants dispute plaintiffs'          practice) (citing Dental Care Assoc., Inc. v. Keller Eng'rs,
contention that a COM is not required as to their direct               Inc., 954 A.2d 597, 601-03, 603 n. 4 (Pa. Super. Ct. 2008))
corporate liability claims against the Camp. Defendants also           (“the Superior Court [ ] found the defendant qualified as
dispute whether plaintiffs' COM is adequate with respect to            a licensed professional for purposes of Rule 1042 and a
such claims against the Camp.                                          certificate of merit was required where the defendant was a
                                                                       ‘corporation engaged in the business of providing engineering
Plaintiffs filed their amended complaint with the amended              services’ and the substance of plaintiff's complaint alleged
COM against the Camp since their original COM indicated                professional malpractice.”).
that expert testimony of a licensed professional was not
necessary for the prosecution of the claim against the Camp.           As such, the court finds that a COM is required as to the direct
(Doc. 1, p. 29). No doubt that the Camp is a corporate entity          corporate medical negligence claims plaintiffs assert against



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Goodfellow v. Camp Netimus, Inc., Not Reported in Fed. Supp. (2017)


the Camp even though it is not a licensed professional medical       supervision, diagnosis, treatment, care and monitoring. (Doc.
care provider since these claims are based on allegations            10, ¶ 48). Thus, plaintiffs seek, in part, to hold the Camp
that the Camp's actions fell below the applicable medical            directly liable for its own medical negligence. “The case
or professional standard, “i.e., where the claim is predicated       law makes it clear that in order to do so, [plaintiffs] would
upon facts constituting medical treatment.” See Rostock, 904         need to present expert evidence, and thus [a] supporting
A.2d at 946; Stroud, 546 F.Supp.2d at 248. Specifically,             COM[ ], regarding the [Camp's] negligence, as separate from
plaintiffs allege that the Camp failed to adequately train the       the alleged negligence of its employee[s] and/or agent[s].”
infirmary medical staff, failed to have adequate policies and        Bassill, 2016 WL 6247549, *2.
procedures in place regarding its medical facility to treat the
campers, and failed to consult with a physician.                     Under Pennsylvania law, medical negligence “can be broadly
                                                                     defined as the unwarranted departure from generally accepted
 *7 In fact, plaintiffs did file a COM against the Camp.             standards of medical practice resulting in injury to a patient,
However, the court finds that the amended COM against the            including all liability-producing conduct arising from the
Camp supports only a claim of vicarious liability and that it        rendition of professional medical services.” Toogood v. Owen
is insufficient to support a direct claim of corporate medical       J. Rogal, D.D.S., P.C., 573 Pa. 245, 254-55 (2003) (internal
negligence. Plaintiffs did not check the first box on their          citations and quotations omitted). Thus, a plaintiff must
amended COM against the Camp. See Pa.R.C.P. 1042.3(a)(1).            establish a duty owed by the physician or medical personnel
Rather, they checked only the second box.                            to the patient, a breach of that duty, that the breach was
                                                                     the proximate cause of the plaintiff's injury, and that the
In Bassill, 2016 WL 6247549, *2, the court explained as              damages suffered were a direct result of the harm. Toogood,
follows,                                                             573 Pa. at 254-55. In addition, “[w]ith all but the most self-
                                                                     evident medical malpractice actions there is also the added
  a claim for corporate negligence “is based on the negligent        requirement that the plaintiff must provide a medical expert
  acts of the institution.” Welsh v. Bulger, 698 A.2d 581, 585       who will testify as to the elements of duty, breach, and
  (Pa. 1997). “A cause of action for corporate negligence            causation.” Quinby v. Plumsteadville Family Practice, Inc.,
  arises from the policies, actions or inaction of the institution   589 Pa. 183, 199 (2006); see also Brady v. Urbas, 111 A.3d
  itself rather than the specific acts of individual hospital        1155, 1162 (Pa. 2015) (“Except in the most obvious cases of
  employees. Thus, under this theory, a corporation is held          negligence (such as where a gauze pad is left inside a patient's
  directly liable, as opposed to vicariously liable, for its own     body), expert testimony is necessary to establish the standard
  negligent acts.” Id. (internal citations omitted).                 of care.”); Rodriguez v. United States, 2009 WL 4480761
                                                                     (M.D. Pa. Aug. 23, 2016), appeal pending, (This court held
Moreover, “[c]orporate negligence claims generally require           that in order for plaintiff inmate to establish a prima facie
expert testimony; therefore, they also require COMs.” Id. In         case of medical malpractice on behalf of the prison's medical
Count III of the amended complaint, plaintiffs raise claims          personnel as well as on behalf of the Bureau of Prisons
of vicarious liability and claims of direct corporate medical        itself, the plaintiff inmate had to provide expert testimony to
negligence against the Camp with respect to the medical              demonstrate both the standard of care owed to him, deviation
treatment received by GPG. The court does not find, as               from that standard, and causation.).
plaintiffs now seem to suggest, (Doc. 16, p. 12), that they
are merely raising claims for ordinary negligence against             *8 As defendants state in their reply brief, (Doc. 17, p. 7),
the Camp. In particular, plaintiffs allege in their amended          “[b]ecause the COM against the Camp fails to comply with
complaint, (Doc. 10), that the Camp controls an infirmary,           Pa.R.C.P. 1042.3(a)(1), plaintiffs must be precluded from
employs full time medical staff, including Lehman and Chou,          presenting expert testimony as to direct medical negligence
and that the Camp is responsible for such staff. Plaintiffs          against the Camp. If plaintiffs are precluded from presenting
also allege that the Camp failed to have adequately trained          expert testimony against the Camp, they cannot establish a
medical staff, failed to have adequate medical policies and          medical negligence claim against the Camp.” See Rodriguez,
procedures in place, failed to have a doctor on staff, failed        supra; Vochinsky, supra. Indeed, the Bureau of Prisons in the
to meet its duty of providing medical and nursing care to            Rodriguez case and the GEO Group in the Vochinsky case,
campers, and failed to inform GPG's parents of his medical           like the Camp, are not licensed professional medical care
conditions. Additionally, plaintiffs allege that the Camp            providers but they all have medical facilities and medical
was negligent in failing to provide proper and competent


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Goodfellow v. Camp Netimus, Inc., Not Reported in Fed. Supp. (2017)


staff under their supervision to treat the medical needs of the     for loss of GPG's consortium contained in Count V of the
inmates and the campers.                                            amended complaint will be dismissed with prejudice.

Since the court has found that a COM is required with               Further, defendants argue that plaintiffs' allegations of
respect to plaintiffs' direct corporate medical negligence          negligence against the Camp staff, including Lehman and
claims against the Camp, the court must decide if the failure       Chou, (Doc. 10, ¶ 35), should be stricken as vague
of plaintiffs to file the requisite COM within the deadline,        and unsupported. The court finds that these allegations
should result in the dismissal with prejudice of these claims.      are sufficient for present purposes and state plausibly
“In limited circumstances, a plaintiff's failure to file a timely   professional medical negligence claims against Lehman
certificate of merit may be excused.” Bassill, 2016 WL              and Chou. Thus, defendants' motion to dismiss plaintiffs'
6247549, *3 (citing Womer v. Hilliker, 908 A.2d 269, 278–           allegations of negligence against all defendants will be
80 (Pa. 2006) (“holding that a failure to file a COM in             denied.
compliance with the rules may be excused where there is
substantial compliance, lack of prejudice and a reasonable           *9 Finally, defendants argue that all of the allegations for
explanation or legitimate excuse”)). As in Bassill, the court       recklessness should be stricken from the amended complaint.
finds no equitable exceptions apply in this case. The Rule's        The amended complaint contains various allegations of
60-day deadline has passed. See Pa.R.Civ.Proc. 1042.3(a)            recklessness against all defendants which implies that
(plaintiff shall file the COM with the complaint or within          plaintiffs will be seeking punitive damages. (See, eg., Doc. 10,
sixty days after the filing of the complaint). Defendants made      ¶ ’s 35-36). However, defendants point out that the amended
plaintiffs aware of the instant issue challenging the original      complaint does not contain a separate claim for punitive
COM against the Camp in their first motion to dismiss and           damages and plaintiffs' prayer for relief does not request
plaintiffs then filed their amended complaint, alleging that        punitive damages. Defendants also state that even if plaintiffs
counsel erred in checking the wrong box on the original COM         are seeking punitive damages, they fail to meet their burden
for the Camp and that an expert gave an opinion regarding the       of pleading sufficient facts to support a claim for punitive
negligence of the Camp. (Doc. 10, ¶ 17.1). Plaintiffs also filed    damages.
their amended COM against the Camp. Thus, insofar as Count
III of plaintiffs' amended complaint raises direct corporate        Plaintiffs state that their allegations of recklessness are
medical negligence claims against the Camp, such claims will        sufficient at this stage of the case, including their allegations
be dismissed with prejudice since the deadline has passed and       that the Camp allowed GPG, who was a minor, “to wallow in
no equitable exceptions apply.                                      pain and suffering for four days is sufficient to support a claim
                                                                    for punitive damages.” (Doc. 16, p. 20). Plaintiffs state that
Defendants also seek to dismiss the claim of GPG's parents          the statute of limitations for GPG to raise a claim of punitive
for loss of their child's consortium contained in Count V           damages will not expire for five years and that such damages
of the amended complaint. There is no dispute that under            “are not a separate claim but rather an element of damages
Pennsylvania law, a parent has no right to recover damages for      which can be claimed at any stage.” (Id.). Plaintiffs concede
the loss of a child's consortium. Recently, in Beam v. Western      that they did not request punitive damages in their amended
Wayne Sch. Dist., 165 F.Supp.3d 200, 217 (M.D. Pa. 2016),           complaint but they suggest that they will seek leave of court to
the court stated that “Pennsylvania, similar to federal law,        file a second amended complaint to assert a claim for punitive
does not recognize a cause of action for the loss of consortium     damages after discovery.
of a child.” (citing Quinn v. City of Pittsburgh, 243 Pa. 521,
524–25, 90 A. 353 (1914)) (holding that a parent may not            The remaining claims in this case include plaintiffs' claims for
recover for the loss of a child's consortium because such           professional medical negligence against Lehman and Chou
a cause of action is confined to where a [spouse] sues for          as well as their claim of vicarious liability against the Camp
injuries to his[/her spouse] ); Robinson v. Hartzell Propeller,     pertaining to the alleged negligence of Lehman and Chou,
Inc., 276 F.Supp.2d 412, 415 (E.D. Pa. 2003) (“dismissing           Counts I-III. “Reckless conduct is the factual characterization
claim for parental loss of consortium on grounds that the           of the events that took place giving rise to the negligence
Pennsylvania Supreme Court most likely would not allow that         action; it is not a claim in itself that the court can dismiss.”
cause of action”). Accordingly, the parent plaintiffs' claim        Austin v. Nugent, 2016 WL 7048994, *7 (M.D. Pa. Dec. 5,
                                                                    2016).



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Goodfellow v. Camp Netimus, Inc., Not Reported in Fed. Supp. (2017)


                                                                  “plausible” claim for punitive damages under Pennsylvania
                                                                  law. Austin, 2016 WL 7048994, *8 (citing Twombly, 550 U.S.
Defendants seek to dismiss all of plaintiffs' allegations of
recklessness to avoid the imposition of punitive damages.         at 547); see also Tucker v. Horn, Case No. 4:16-cv-0071,
“Punitive damages are merely an element of damages                2016 WL 4679018, at *3–4 (M.D. Pa. Sept. 9, 2016). As
in a negligence action.” Id. (citing Kirkbride v. Lisbon          this court instructed in Austin, “Plaintiff[s] would certainly
Contractors, Inc., 555 A.2d 800, 802 (Pa. 1989) (“[N]o            bear a high evidentiary burden if [they] decided to seek
independent action exists for a claim of punitive damages         punitive damages, but this is the very purpose of discovery.”
since punitive damages is only an element of damages”)            Id. Further, “[d]iscovery would be necessary to determine
(emphasis in original)). “It follows that punitive damages        whether the defendant's actions rose to the level of outrageous
are ‘predicated upon the finding of liability.’ ” Id. (citing     conduct warranting punitive damages.” However, like in
Kirkbride, 555 A.2d at 802).                                      Austin, the issue of whether plaintiffs will be able to make
                                                                  the requisite evidentiary showing is not an issue that this
As indicated, plaintiffs' amended complaint does not              court need address now. “Thus, even if the plaintiff[s] had
specifically seek punitive damages. As this court stated in the   sought punitive damages in [their] [amended] complaint, the
Austin case, 2016 WL 7048994, *7, since defendants seek           allegations would be sufficient to survive a motion to dismiss
dismissal of an element of a claim that is not even demanded,     as dismissal at this early stage would be premature.” Id.
there is nothing to dismiss at this stage.
                                                                   *10 Moreover, in the November 30, 2016 revised scheduling
                                                                  order, the court set June 2, 2017 as the deadline for fact
Assuming arguendo that plaintiffs had demanded punitive
                                                                  discovery and the final date for the amendment of pleadings
damages, or as they imply, that they will later seek punitive
                                                                  is June 15, 2017. (Doc. 21). Since these dates have not
damages, as this court pointed out in Austin, defendants
                                                                  yet passed, the court will allow the plaintiffs' allegations
misconstrue the standard under Rule 12(b)(6). Id. “The
                                                                  of recklessness in their amended complaint to proceed.
pleading standard set forth in Twombly solely requires that
                                                                  Accordingly, defendants' motion to dismiss all of plaintiffs'
the plaintiff's claims be ‘plausible,’ not that they be proven
                                                                  allegations of recklessness will be denied.
in the complaint by sufficient facts as the defendant's motion
would suggest.” Id. (citing Twombly, 550 U.S. at 547). “In
Pennsylvania, punitive damages are available as a remedy for      IV. CONCLUSION
negligence actions.” Id. (citing Hutchinson ex rel. Hutchinson    For the reasons discussed above, the defendants' motion to
v. Luddy, 870 A.2d 766, 772–73 (Pa. 2005)). “This remedy          dismiss, (Doc. 12), the plaintiffs' amended complaint, (Doc.
is only available ‘in cases where the defendant's actions are     10), will be GRANTED IN PART AND DENIED IN
so outrageous as to demonstrate willful, wanton or reckless       PART. A separate order shall issue.
conduct.’ ” Id. (citing Hutchinson ex rel. Hutchinson, 870
A.2d at 770).
                                                                  All Citations
The court finds that the plaintiffs' allegations of reckless
in their amended complaint would be enough to state a             Not Reported in Fed. Supp., 2017 WL 1738398




                                                          Footnotes


1      All facts are taken from plaintiffs' amended complaint, (Doc. 10), unless otherwise noted. The facts alleged
       in plaintiffs' amended complaint must be accepted as true in considering the Camp's motion to dismiss. See
       Dieffenbach v. Dept. of Revenue, 490 Fed.Appx. 433, 435 (3d Cir. 2012); Evancho v. Evans, 423 F.3d 347,
       350 (3d Cir. 2005).

2      The Third Circuit has held that Rule 1042.3 is substantive law and must be applied by federal courts sitting
       in diversity jurisdiction. Liggon-Redding v. Estate of Sugarman, 659 F.3d 258, 264-65 (3d Cir. 2011) (“[W]e




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Goodfellow v. Camp Netimus, Inc., Not Reported in Fed. Supp. (2017)


      conclude that Pennsylvania Rule 1042.3, mandating a certificate of merit in professional negligence claims,
      is substantive law under the Erie Rule and must be applied as such by federal courts.”).



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Graham v. Mohegan Sun at Pocono Downs, Not Reported in Fed. Supp. (2016)


                                                               a frequent visitor to the casino, Plaintiff became uncertain
                    2016 WL 3254744                            as to how to access the casino when she parked her vehicle
     Only the Westlaw citation is currently available.         in a different designated parking area than the one she
     United States District Court, M.D. Pennsylvania.          was accustomed to, due to new construction of a hotel at
                                                               the casino. (Id. at ¶¶7-9). Confused by the lack of signage
             Mary Lou GRAHAM, Plaintiff,                       directing her which way to traverse to the casino's entrance,
                            v.                                 she inquired with a construction worker, who told her to
      MOHEGAN SUN AT POCONO DOWNS and                          “just go past the fence and down toward the people.” (Id. at
                                                               ¶¶10-12). When Plaintiff reached the end of the construction
       Killian Construction Company, Defendants.
                                                               fence, she saw a paved sidewalk that led to the casino's
               Civil Action No. 3:14-CV-0908                   entrance, but thought it too far to traverse, so, instead,
                              |                                she chose a grass/dirt walkway/pathway that was a shorter
                      Filed 06/14/2016                         distance leading to the casino's entrance. (Id. at ¶¶13, 14). It
                                                               was while she was walking on this path that Plaintiff slipped
Attorneys and Law Firms                                        and fell, sustaining injuries. (Id., at ¶16).

Harry T. Coleman, Law Office of Harry Coleman,                 Plaintiff filed suit against both Defendants on May 12, 2014,
Carbondale, PA, for Plaintiff.                                 and subsequently, filed an amended complaint alleging two
                                                               counts of negligence and one count of intentional infliction
James A. Doherty, Jr., Scanlon, Howley & Doherty, P.C.,
                                                               of emotional distress against Mohegan Sun and one count
James Andrew Doherty, III, Kevin Corbett Hayes, Doherty
                                                               of negligence against Killian Construction. (Docs. 1 and
Law, LLC, Scranton, PA, Glenn M. Campbell, William J.
                                                               8). Upon the close of discovery, Killian Construction filed
Ferren & Associates, Blue Bell, PA, for Defendants.
                                                               a motion for summary judgment, arguing that it owed no
                                                               duty to Plaintiff, given the incident occurred outside of
                                                               the construction area. Further Killian Construction argues it
                    MEMORANDUM
                                                               cannot be held negligent, as a matter of law, for any defect that
Kosik, Judge                                                   might have existed in an unpaved area of the property when
                                                               a safe, paved means of travel was available to Plaintiff.
 *1 Before the Court are several motions for consideration:
a motion for summary judgment filed by Defendant Killian       Mohegan Sun later filed a motion for summary judgment,
Construction Company (“Killian Construction”) (Doc. 42);       partially joining Killian Construction's motion for summary
a motion for summary judgment filed by Defendant               judgment. (Doc. 46). Specifically, Mohegan Sun seeks
Mohegan Sun at Pocono Downs (“Mohegan Sun”) (Doc. 46),         summary judgment only as to Count I of Plaintiff's amended
partially joining the summary judgment motion of Killian       complaint, joining with Killian Construction, that, as a matter
Construction; and finally, Plaintiff, Mary Lou Graham's        of law, Mohegan Sun cannot be held negligent for any
motion to strike Mohegan Sun's motion for summary              defect in the unpaved area of the property when Plaintiff
judgment (Doc. 49). For the reasons which follow, the          was provided with a safe, paved means of travel to the
Court will deny Plaintiff's motion to strike, deny Killian     casino's entrance. (Docs. 46 and 47). Plaintiff responded
Construction's motion for summary judgment, and deny           by filing a motion to strike Mohegan Sun's motion for
Mohegan Sun's motion for summary judgment.                     summary judgment (Doc. 49), arguing the same was filed
                                                               untimely. Plaintiff subsequently filed briefs in opposition to
                                                               both Defendants' motions. (Docs. 52 and 58). The parties have
                                                               fully briefed the motions, which are now ripe for disposition.
                   I. BACKGROUND

This action stems from an incident that occurred on February
15, 2013, when Plaintiff, Mary Lou Graham, suffered injuries                  II. STANDARD OF REVIEW
when she fell on a grassy walkway/pathway leading to
the casino entrance at Mohegan Sun in Plains Township,          *2 Summary judgment is appropriate when “the pleadings,
Pennsylvania. (Doc. 51, Pltf. SOF, at ¶¶1, 14, 16). Although   depositions, answers to interrogatories, and admissions on



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Graham v. Mohegan Sun at Pocono Downs, Not Reported in Fed. Supp. (2016)


file, together with the affidavits, if any, show that there is      cross motion for summary judgment is a matter of judicial
no genuine issue as to any material fact, and the moving            discretion).
party is entitled to judgment as a matter of law.” FED. R.
CIV. P. 56(c). An issue is “genuine” if there is sufficient         Plaintiff contends that she will suffer prejudice should
evidence with which a reasonable jury could find for the            Mohegan Sun's untimely motion not be stricken because
non-moving party. Anderson v. Liberty Lobby, Inc., 477 U.S.         she will be unable to respond to Mohegan Sun's motion
242, 248 (1986); Childers v. Joseph, 842 F.2d 689, 693-94           within the 21 day time parameter set forth by Local Rule
(3d Cir. 1988) (citing Anderson, 477 U.S. at 248). A factual        7.6. Although Mohegan Sun untimely filed its motion for
dispute is “material” if it might affect the outcome of the case.   summary judgment, partially joining in Killian Construction's
Anderson, 477 U.S. at 248. In determining whether an issue          motion for summary judgment, we cannot identify any
of material fact exists, the court must consider the evidence       prejudice that the Plaintiff will suffer, or has suffered, by
in the light most favorable to the non-moving party. Skerski        the late filing. Mohegan Sun does not raise any different
v. Time Warner Cable Co., 257 F.3d 273, 278 (3d Cir. 2001);         legal issues in its motion, but rather, raises the very same
White v. Westinghouse Elec, Co., 862 F.2d 56, 59 (3d Cir.           issue that Co-Defendant Killian Construction raised, to which
1988).                                                              Plaintiff has fully responded to in her oppositional brief.
                                                                    Indeed, Plaintiff has already responded to Mohegan Sun's
A party seeking summary judgment always bears the initial           motion for summary judgment by filing a brief in opposition
burden of informing the court of the basis of its motion            to the same. Thus, because motions to strike are within the
and identifying those portions of the record that it believes       sound discretion of the district court, and we cannot discern
demonstrates the absence of a genuine issue of material             any prejudice by allowing Mohegan Sun's motion to stand,
fact. Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986).           we will deny Plaintiff's motion to strike.
The non-moving party then has the burden to “come forth
with ‘affirmative evidence, beyond the allegations of the
pleadings,’ in support of its right to relief.” U.S. Bank, Nat'l       B. Motions for Summary Judgment
Ass'n v. Greenfield, Civ. Action No. 1:12-CV-2125, 2014 WL           *3 Having addressed Plaintiff's motion to strike, we now
3908127, *2 (M.D. Pa. Aug. 11, 2014) (quoting Pappas v.             turn to the Defendants' motions for summary judgment. In its
City of Lebanon, 331 F. Supp. 2d 311, 315 (M.D. Pa. 2004)).         motion for summary judgment, Killian Construction argues
“If a party fails to properly support an assertion of fact or       that Plaintiff cannot establish that it breached any duty owed
fails to properly address another party's assertion of fact as      to Plaintiff at the time of her fall. Killian Construction also
required by Rule 56(c),” a court may grant summary judgment         argues that Plaintiff cannot prevail on a negligence claim
or consider the fact undisputed for purposes of the motion.         when it was Plaintiff that chose the dangerous route to
Fed. R. Civ. P. 56(e)(2-3).                                         traverse rather than utilize the safe route that was available
                                                                    to the casino entrance. Mohegan Sun's motion for summary
                                                                    judgment joins in with Killian Construction's argument that
                                                                    Defendants cannot be found negligent when Plaintiff was
                      III. DISCUSSION                               aware of a safe, paved means to enter the casino. Mohegan
                                                                    Sun does not challenge the remainder of Plaintiff's IIED or
   A. Motion to Strike
                                                                    negligence claims in its motion for summary judgment.
Before addressing Defendants' motions for summary
judgment, we must first deal with, as an initial matter,
                                                                    Plaintiff responds that Killian Construction's contract with
Plaintiff's motion to strike Mohegan Sun's motion for
                                                                    Mohegan Sun created a duty to Plaintiff and that a question
summary judgment. Plaintiff asks the Court to strike from
                                                                    of fact exists as to whether Plaintiff was able to discover and
the record and dismiss Mohegan Sun's motion for summary
                                                                    appreciate the alleged dangerous condition of the pathway on
judgment for its untimely filing. Rulings on motions to strike
                                                                    which she slipped.
are “within the sound discretion of the district court” and
are considered a “drastic remedy.” Dougherty v. Advanced
                                                                    In Pennsylvania, the elements of a negligence claim are:
Wings, LLC, 2013 WL 2434991, at *1 (M.D. Pa. June 4,
2013); (see King Twp. Of E. Lampeter, 17 F.Supp.2d 394,               (1) a duty or obligation recognized by the law requiring the
407 (E.D. Pa. 1998)) (stating whether to strike untimely              defendant to conform to a certain standard of conduct for
                                                                      the protection of others against unreasonable risks;


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Graham v. Mohegan Sun at Pocono Downs, Not Reported in Fed. Supp. (2016)




  (2) defendant's failure to conform to the standard required;      This concept has been termed as the “alternative ways” or
                                                                    “choice of ways” doctrine, which states: “Where a person,
  (3) a causal connection between the conduct and the
                                                                    having a choice of two ways, one of which is perfectly
  resulting injury; and
                                                                    safe, and the other of which is subject to risks and dangers,
  (4) actual loss or damage resulting to the plaintiff.             voluntarily chooses the latter and is injured, he is guilty of
                                                                    contributory negligence....” O'Brien v. Martin, 638 A.2d 247,
R.W. v. Manzek, 585 Pa. 335, 346 (2005). The first element,         249 (Pa. 1994), citing Downing v. Shaffer, 371 A.2d 953,
whether defendant owes a duty of care to the plaintiff, is          956 (Pa. Super. Ct. 1977). To be applicable, there must be
a question of law. The Court looks to Section 343 of the            evidence that “the plaintiff made an unreasonable decision
Restatement (Second) of Torts, which has been adopted by            which exposed him to a hazard that he knew or should have
Pennsylvania, to determine whether a duty existed. Section          known existed. There must be evidence of (1) a safe course,
343 states,                                                         (2) a dangerous course, and (3) facts which would put a
                                                                    reasonable person on notice of the danger or actual knowledge
  A possessor of land is subject to liability for physical harm     of the danger.” Id. “Contributory negligence...may not be
  caused to his invitees by a condition on the land if, but only    found by the court as a matter of law unless the facts so clearly
  if, he                                                            reveal the plaintiff's negligence that reasonable minds could
                                                                    not disagree as to its existence.” O'Brien, 638 A.2d at 249;
     (a) knows or by the exercise of reasonable care would
                                                                    see, e.g., Gregorius v. Safeway Steel Scaffolds Co., 187 A.2d
     discover the condition, and should realize that it involves
                                                                    646 (Pa. 1963); Skalos v. Higgins, 449 A.2d 601 (Pa. Super.
     an unreasonable risk of harm to such invitees, and
                                                                    Ct. 1982). While Pennsylvania courts have generally been
     (b) should expect that they will not discover or realize the   loath to apply this doctrine, in the cases where it is applied,
     danger, or will fail to protect themselves against it, and     the danger the plaintiff chose to confront was “indisputably
                                                                    obvious.” O'Brien, 638 A.2d at 249. Finally, the choice of
     (c) fails to exercise reasonable care to protect them          ways doctrine is rarely dealt with at summary judgment;
     against the danger.                                            rather, “[t]he cases which have examined it have generally
                                                                    been at the post-trial stage.” Cousins v. Sharon City School
Restatement (2d) of Torts § 343. “A possessor of land is not
                                                                    Dist., 27 Pa. D. & C.4th 319, 332 (1994), citing O'Brien, 638
liable to his invitees for physical harm caused to them by any
                                                                    A.2d at 249.
activity or condition on the land whose danger is known or
obvious to them, unless the possessor should anticipate the
                                                                     *4 In O'Brien v. Martin, a construction worker fell from a
harm despite such knowledge or obviousness.” Restatement
                                                                    concrete extension when he attempted to step onto a pier to
(2d) of Torts § 343A.
                                                                    converse with someone below him more easily, rather than
                                                                    proceed down a ramp located at one end of the loading dock
“A danger is deemed to be ‘obvious’ when ‘both the condition
                                                                    to speak with the individual. O'Brien, 638 A.2d at 248. In
and the risk are apparent to and would be recognized by
                                                                    analyzing whether the construction worker was contributorily
a reasonable man, in the position of the visitor, exercising
                                                                    negligent, The Pennsylvania Superior Court pointed to the
normal perception, intelligence, and judgment.’ ” Carrender
                                                                    following facts, among others, to determine whether the
v. Fitterer, 469 A.2d 120, 123 (Pa. 1983), citing Restatement
                                                                    plaintiff chose an obviously dangerous way over a clearly
(2d) of Torts § 343A, comment b. For a danger to be “known,”
                                                                    safer one to speak to the person below him: (1) plaintiff
it must “not only be known to exist, but...also be recognized
                                                                    testified that he did not think standing on the cement pier
that it is dangerous and the probability and gravity of the
                                                                    was dangerous; and (2) plaintiff did not think the pier was
threatened harm must be appreciated.” Id. “The question of
                                                                    a safety hazard because it was commonplace and saw other
whether a danger was known or obvious, and if so, whether
                                                                    workers safely walk on the pier. Id. At 250. The Superior
a safe way was available so that it is clear that [Plaintiff]
                                                                    Court concluded that “[t]his is not a situation where the facts
assumed the risk, is a question of fact for the jury. Only where
                                                                    so clearly bespeak negligence by the plaintiff that the issue
reasonable minds could not differ as to the conclusion may
                                                                    should have been removed from the jury.” Id.
the question be decided by the court.” Com. v. Harris, 522
A.2d 184, 186 (Pa. Commw. Ct. 1987); Carrender, 469 A.2d
at 124; Restatement (2d) of Torts § 328B comments c and d.


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Graham v. Mohegan Sun at Pocono Downs, Not Reported in Fed. Supp. (2016)


Although O'Brien is not controlling, we find it instructive to
the present case. As evidenced by the deposition testimony                Q: Who's determination was it as to where to place the
of Plaintiff, the risks associated with traversing on the grassy          fencing?
pathway were not known to be obviously dangerous to
                                                                          A: The casino, or MTGA [Mohegan Tribal Gaming
Plaintiff:
                                                                          Authority].
       Q: So then you parked, and then what happened next?
                                                                          Q: And for our purposes, that's the same as the casino,
       A:...And so I saw a path, and – and there were like all            correct?
       kinds of footprints on it. And I went down there.
                                                                          A: Yes, sir.
       ***
                                                                   (Doc. 42, Ex. 6, Def. Dep. at 18:11-18). Mr. Sanders'
       Q: So is this the pathway that you used to enter the        deposition testimony further states that Killian Construction
       casino that day?                                            was responsible for construction signage only on the project,
                                                                   not for patron signage of the casino. (Id. at 11-12).
       A: Yeah. And there were tons of footprints. And I
       always seen people when they would walk – coming            Plaintiff counters that an unknown construction worker,
       out the casino and walking up the sidewalk to the           presumably a Killian Construction worker, told her that to
       disability section, and I always saw people coming          access the casino, she should “just go past the fence and down
       down there.                                                 toward the people.” (Doc. 51, Pltf.’s SOF, ¶ 11; Doc. 53,
                                                                   Pltf.’s Dep., at 50:22-51:1). Plaintiff also cites to a portion
(Doc. 53, Tab A, Pltf.’s Dep. at 50:10-11, 51:5-7, 64:4-5,         of the contract between the Defendants, which she contends
64:11-15). Moreover, Plaintiff has set forth that there were no    supports her position that Killian Construction owed a legal
warning signs or cones, cordoning-off or preventing patrons,       duty to her. Specifically, she cites to Section 10.2.1 of the
such as Plaintiff, from using this “well-traveled” pathway. (Id.   contract that provides:
at 61 – 62).

Viewing the evidence in the light most favorable to the non-
                                                                                      *5 The Contractor [Killian
moving party, as we must do at this juncture, we cannot
                                                                                     Construction]      shall     take
say that the danger ultimately confronted by the Plaintiff –
                                                                                     reasonable precautions for safety
walking on a well-traveled, grassy pathway – was so patently
                                                                                     of, and shall provide reasonable
obvious that no reasonable minds could differ. Plaintiff has
                                                                                     protection to prevent damage,
set forth evidence that no clear signage was available to
                                                                                     injury or loss to: employees on
her to direct her which way to travel to the entrance of
                                                                                     the Work and other persons who
the casino; that no ribbon, signs, cones or fences prohibited
                                                                                     may be affected thereby.
her from using the grassy pathway; and that she saw other
patrons utilizing the well-worn pathway to the casino without
incident. Thus, there is no real evidence that suggests any
                                                                   (Doc. 53, Pltf.’s Affidavit in Opp., Tab D). Plaintiff also
route was clearly unsafe. Given this absence of evidence,
                                                                   provides that within Killian Construction's scope of work
coupled with the general “loathing” of courts to apply the
                                                                   was traffic control “as required to keep the existing facility
choice of ways doctrine, especially at the summary judgment
                                                                   [casino] in operation.” (Doc. 51, Pltf.’s SOF, ¶ 21; Doc. 53,
stage, we will deny Killian Construction's and Mohegan Sun's
                                                                   Pltf.’s Affidavit in Opp., Tab D, Summary of Work, at 4).
motion for summary judgment as to this issue.

                                                                   Again, viewing the evidence in the light most favorable to
Finally, we now turn to Killian Construction's argument that
                                                                   the non-moving party, we find a genuine issue of material
it owed no duty to Plaintiff for a condition that was located
                                                                   fact exists that prevents the granting summary judgment
outside the zone of construction. Killian Construction points
                                                                   with the record before us. Given the evidence produced by
to the deposition testimony of Tom Sanders, an on-site project
                                                                   Plaintiff in support of her averments that Killian Construction
manager for Killian Construction:
                                                                   owed a duty to Plaintiff based upon the contract between



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Graham v. Mohegan Sun at Pocono Downs, Not Reported in Fed. Supp. (2016)



the Defendants and the lack of evidence propounded by
the Defendant to counter the same, we must deny Killian                                   IV. CONCLUSION
Construction's motion for summary judgment as to this
issue as well. Other than the deposition testimony of Mr.            For the reasons set forth above, we will deny Plaintiff's
Sander's, indicating that Mohegan Sun was responsible for            motion to strike and deny Killian Construction and Mohegan
the placement of the construction fences, Killian Construction       Sun's motions for summary judgment. An appropriate order
fails to come forth with any evidence to refute Plaintiff's          is attached.
assertion that the above referenced contract section created a
legal duty to the Plaintiff.
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